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                            UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA


WASTE MANAGEMENT OF                 *
LOUISIANA, L.L.C.                   *               CIVIL ACTION No.: 2:11-cv-02405
                                    *
                                    *
VERSUS                              *               JUDGE: KURT D. ENGELHARDT
                                    *
                                    *
RIVER BIRCH, INC., ET AL            *               MAGISTRATE: KAREN WELLS ROBY
                                    *
*************************************


            DEFENDANT FRED HEEBE’S MEMORANDUM IN OPPOSITION
                 TO OBJECTION BY GEOFFREY J. BOULMAY, SR.

       Defendant, Frederick R. Heebe, respectfully submits the following opposition to the

Objection to the Magistrate Judge’s Order filed by Geoffrey J. Boulmay, Sr. (“Boulmay”). Rec.

Doc. 101. As is explained below, Mr. Boulmay has failed to satisfy the requirements of Federal

Rule of Civil Procedure 72 and his objections should be denied.

       I.      Mr. Boulmay’s objections are untimely.

       Rule 72(A) of the Federal Rules of Civil Procedure requires that objections to a

magistrate judge’s ruling be filed within fourteen days.      Fed. R. Civ. P. 72(a); 28 U.S.C.

§636(b)(1). The Court is not required to review any portion of a magistrate judge’s order that is

not the subject of a timely objection. See Fed. R. Civ. P. 72 advisory committee’s note.




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       In the present case, Magistrate Judge Roby filed her original order on September 12,

2013 and an amended order on April 15, 2014. There is only one difference between the original

and the amended order. The original order stated, “Seemingly, Boulmay went to jail and served

time in federal prison, for which he alleges his trial attorney conspired with the judge, resulting

in his sentence.” Rec. Doc. 95 at p. 3. That sentence has been deleted from the amended order

and replaced with, “Seemingly, after Copeland’s co-defendant confessed in another proceeding,

someone advised Boulmay that he should also file a disciplinary complaint.” Rec. Doc. 100 at p.

3.

       Since Mr. Boulmay did not file his objection until April 22, 2014, his objections are

untimely with respect to all issues except for this one change in the amended order. With respect

to that change, Mr. Boulmay contends that the “opinion stated mover went to prison” and

“mover has never gone to prison.” Rec. Doc. 101 at p. 1. Since the amended order addresses

this complaint, Mr. Boulmay’s only timely objection is moot.

       II.     The magistrate judge’s order is not clearly erroneous or contrary to law
               under Federal Rule of Civil Procedure 72(a).

       In addition to being untimely, Mr. Boulmay’s objection fails to show that the magistrate

judge’s order is clearly erroneous or contrary to law, as required by Rule 72(a). Mr. Boulmay

merely rehashes the same arguments that were made in his motion to intervene. Accordingly, he

has failed to satisfy his burden of proving the magistrate judge’s order is clearly erroneous or

contrary to law.




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                                       CONCLUSION

       For the foregoing reasons, Mr. Boulmay’s Objection to the Magistrate Judge’s Order

should be denied.

                                                   Respectfully Submitted,

                                                   /s/ William P. Gibbens
                                                   Kyle D. Schonekas, 11817
                                                   Joelle F. Evans, 23730
                                                   William P. Gibbens, 27225
                                                   SCHONEKAS, EVANS, McGOEY &
                                                   McEACHIN, L.L.C.
                                                   909 Poydras Street, Suite 1600
                                                   New Orleans, Louisiana 70112
                                                   Telephone: (504) 680-6050
                                                   Facsimile: (504) 680-6051
                                                   kyle@semmlaw.com
                                                   joelle@semmlaw.com
                                                   billy@semmlaw.com

                                                   Attorneys for Defendant, Frederick R.
                                                   Heebe




                               CERTIFICATE OF SERVICE

       I hereby certify that on May 22, 2014, I electronically filed the foregoing pleading with

the Clerk of Court by using the CM/ECF system which will send a notice of electronic filing to

all counsel of record.



                                                   /s/ William P. Gibbens
                                                   William P. Gibbens




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